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                    8                               UNITED STATES DISTRICT COURT

                    9                            NORTHERN DISTRICT OF CALIFORNIA

                   10

                   11   THOMAS FERNANDEZ, LORA SMITH,               Case No. C06-07339 CW
                        and TOSHA THOMAS
                   12                                               NORTH STAR TRUST COMPANY’S
                                             Plaintiffs,            REPLY MEMORANDUM IN SUPPORT
                   13
                                                                    OF ITS MOTION FOR LEAVE TO FILE
                                      vs.
                   14                                               MOTION FOR RECONSIDERATION OR,
                        K-M INDUSTRIES HOLDING CO., INC.;           ALTERNATIVELY, FOR ENTRY OF
                   15   K-M INDUSTRIES HOLDING CO., INC.            JUDGMENT
                        ESOP PLAN COMMITTEE; WILLIAM
                   16   E. AND DESIREE B. MOORE
                        REVOCABLE TRUST; TRUSTEES OF
                   17   THE WILLIAM E. AND DESIREE B.
                        MOORE REVOCABLE TRUST; CIG
                   18   ESOP PLAN COMMITTEE; NORTH
                        STAR TRUST COMPANY; DESIREE B.
                   19   MOORE REVOCABLE TRUST;
                        WILLIAM E. MOORE MARITAL
                   20   TRUST; WILLIAM E. MOORE
                        GENERATION-SKIPPING TRUST; and
                   21   DESIREE MOORE, BOTH IN HER
                        INDIVIDUAL CAPACITY AND AS
                   22   TRUSTEE OF THE WILLIAM E AND
                        DESIREE B. MOORE REVOCABLE
                   23   TRUST'S SUCCESSOR TRUSTS
                        NAMED ABOVE,
                   24
                                             Defendants.
                   25

                   26

                   27

M ORGAN , L EWIS &
                   28
  B OCKIUS LLP                                                         NSTC’S REPLY MEM. ISO ITS MOT. FOR LEAVE TO FILE MOT. FOR
 ATTORNEYS AT LAW                                                             RECONSIDERATION OR, ALT., FOR ENTRY OF JUDGMENT
   SAN FRANCISCO                                                                                            CASE NO. C06-07339 CW
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 1   I.       INTRODUCTION
 2            Section 2(b) of the Stock Purchase Agreements that established the ESOP obligates the
 3   Moore Trust to reimburse the ESOP, upon a determination by a court that the ESOP overpaid the
 4   Moore Trust for the stock the ESOP holds, for the amount of that overpayment plus interest. For
 5   Plaintiffs to succeed in their case against North Star Trust Company (“NSTC”), this Court must
 6   find that the ESOP overpaid the Moore Trust for the stock the ESOP holds; Plaintiffs in their
 7   opposition do not contend otherwise. NSTC seeks leave to file a motion for reconsideration of
 8   the Court’s August 21, 2009 Order because the Court’s ruling that section 2(b) is an
 9   “indemnification” of NSTC by the Moore Trust in violation of ERISA, amounts to a manifest
10   failure by the Court to consider the plain contractual obligations of the Moore Trust to the ESOP
11   contained in the Stock Purchase Agreements. Section 2(b) is not an indemnification of NSTC,
12   and it does not relieve NSTC of any liability for alleged breaches of fiduciary duties. Rather, it is
13   a separate contractual obligation of the Moore Trust that will be triggered the moment (if ever)
14   that the Court finds that the ESOP overpaid for the K-M stock, as the Court must find for the
15   Plaintiffs to be successful in their litigation against NSTC. Plaintiffs provide no authority, or
16   logical explanation, why the Court should not enforce section 2(b) of the Stock Purchase
17   Agreements.
18            Should the Court decide not to permit NSTC to file a motion for reconsideration of the
19   ruling on the enforceability of Section 2(b), the Court should nevertheless certify the judgment as
20   final under Rule 54(b). The Settling Defendants, who previously requested certification but now
21   reverse their position for what can only be tactical reasons, provide no convincing reason not to
22   certify. They rely upon out of circuit authority and ignore applicable Ninth Circuit guidance.
23   They identify no issue that would be presented on an immediate appeal and would be
24   readjudicated before this Court and presented again in a later appeal. They assert no reason at all
25   why a delayed appeal would be just. The Court should certify as final the judgment as to the
26   Settling Defendants.
27

28
                                                            NSTC’S REPLY MEM. ISO ITS MOT. FOR LEAVE TO FILE MOT. FOR
                                                     1             RECONSIDERATION OR, ALT., FOR ENTRY OF JUDGMENT
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 1   II.    THE COURT SHOULD GRANT NSTC LEAVE TO FILE A MOTION FOR
            RECONSIDERATION
 2

 3          A.      Leave to File a Motion to Reconsider Should Not be Denied Based on
                    Noncompliance with Local Rule 7-9
 4

 5          The Settling Parties argue that the Court should deny leave to file a motion to reconsider

 6   because, they say, NSTC has flouted Local Rule 7-9, which sets forth the pertinent procedure.

 7   This argument should be rejected.

 8          First, the Settling Parties assert that NSTC violated Local Rule 7-9 because it filed a

 9   motion for reconsideration concurrently with its Motion for Leave to File a Motion for

10   Reconsideration. Settling Parties’ Opposition to Motion for Leave to File Motion for

11   Reconsideration and Entry of Judgment [Dkt. # 337] (“Opp.”) at 2:11-25. This assertion is

12   manifestly false. NSTC’s motion for leave is clearly styled as such; and in its memorandum in

13   support of its motion for leave, NSTC briefly set forth the reasons it believes the Court should

14   grant NSTC the opportunity to brief fully a motion for reconsideration. NSTC did not

15   concurrently file any separate motion for reconsideration. Indeed, the Settling Parties’ argument

16   stands Local Rule 7-9 on its head, because their logic is that no party seeking leave to file a

17   motion to reconsider should be permitted to explain why.

18          Second, the Settling Parties assert that NSTC offended Local Rule 7-9 by repeating

19   argument. Opp. at 2:26-3:14. This assertion too ignores the language of the Rule, which

20   provides that leave for a motion for reconsideration may be granted upon a “specific[] show[ing]”

21   of “[a] manifest failure by the Court to consider material facts or dispositive legal arguments

22   which were presented to the Court.” Local Rule 7-9(b)(3). Obviously, NSTC can make the

23   requisite showing only by demonstrating that the Court failed to consider material facts or

24   dispositive arguments that were previously presented. The showing that the Rule itself requires

25   cannot be rejected as “repetition.”

26          B.      The Settling Parties Do Not Deny That Section 2(b) Would Be Triggered by A
                    Finding That NSTC Breached Its Fiduciary Duty
27

28           Plaintiffs allege in this case that NSTC breached its fiduciary duties in 2003 by failing to
                                                            NSTC’S REPLY MEM. ISO ITS MOT. FOR LEAVE TO FILE MOT. FOR
                                                     2             RECONSIDERATION OR, ALT., FOR ENTRY OF JUDGMENT
                                                                                                 CASE NO. C06-07339 CW
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 1   take action to recover from the Moore Trust the overpayments that Plaintiffs allege the Moore
 2   Trust received from the ESOP in 1998 and 1999. As Plaintiffs also allege, such overpayments
 3   would have been prohibited transactions, and breaches of fiduciary duty, by the ESOP’s then
 4   trustee. It appears to be undisputed that a determination by the Court that the ESOP overpaid the
 5   Moore Trust in 1998 and/or 1999 would trigger the contractual promise made by the Moore Trust
 6   in section 2(b),1 to transfer to the ESOP the overpaid amount, with interest.
 7             The Settling Parties attempt to distract the Court from this contract analysis of the Stock
 8   Purchase Agreements by framing NSTC’s counterclaim to enforce section 2(b) as one for
 9   indemnification. The Settling Parties argue that “[t]he fact that the Moore Trust’s liability would
10   be triggered only if [NSTC] is found liable demonstrates that such a claim is for indemnification”
11   and that any claim to the contrary is “merely a game of semantics.” Opp. at 5:10-19. Settling
12   Parties’ argument is flawed for several reasons.
13             First, it is simply not true that “the Moore Trust’s liability would be triggered only if
14   [NSTC] is found liable” – the converse is true. For example, the Court could find that NSTC was
15   not imprudent and did not breach its fiduciary duties (e.g., because it followed a prudent process
16   in its 2003 investigation) but that the Moore Trust did in fact receive more than adequate
17   consideration from the ESOP. If the Court were to conclude that the Moore Trust did receive
18   more than adequate consideration, section 2(b) would require the Moore Trust to repay the ESOP
19   whether or not NSTC breached its duties. On the other hand, a finding that the ESOP did not
20   overpay would mean that NSTC’s conduct did not cause a loss to the ESOP. See Fernandez v. K-
21   1
         Section 2(b) of the Stock Purchase Agreements provides, in pertinent part:
22
     “In the event that there is a final determination by the Internal Revenue Service, a court of
23   competent jurisdiction or otherwise that the fair market value of the Shares as of this date is less
     than the Purchase Price paid by the Trustee, then Selling Shareholder [the Moore Trust] shall
24   transfer to the Trustee an amount . . . equal in value to the difference between the Purchase Price
     and said fair market value for all such Shares. . . . [S]uch shares shall be valued at their fair
25   market value as of the date hereof and interest at a reasonable rate from the date hereof to the date
     of payment shall be paid by Selling Shareholder on the amount of cash paid.”
26
     This provision is triggered by any “determination” that the ESOP overpaid – whether made by a
27   court, the IRS, the DOL, a successor trustee, or otherwise -- but NSTC could not enforce the
     provision absent such a determination. Where the provision is triggered, the trustee is a conduit
28   for the return to the ESOP of the overpayment (plus interest).
                                                              NSTC’S REPLY MEM. ISO ITS MOT. FOR LEAVE TO FILE MOT. FOR
                                                       3             RECONSIDERATION OR, ALT., FOR ENTRY OF JUDGMENT
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 1   M Indus. Holding Co., 585 F. Supp. 2d 1177, 1184 (N.D. Cal. 2008) (finding that NSTC’s
 2   potential liability is dependent upon “the alleged breaches of fiduciary duty that took place before
 3   it was appointed the ESOP trustee”). Regardless of whether NSTC’s alleged breach is, as the
 4   Settling Parties state, “independently actionable,” the Settling Parties have not identified any way
 5   in which NSTC’s conduct harmed, or could have harmed, the ESOP unless the Moore Trust
 6   received more than adequate consideration thus triggering section 2(b).
 7           Second, the Settling Parties’ argument fails because it is based on the false assertion that
 8   section 2(b) is an indemnity clause. The Settling Parties conclude that because this Court has
 9   rejected any claim by NSTC for indemnification against the Moore Trust Defendants, then the
10   Court must also reject the enforcement of section 2(b) against the Moore Trust. Opp. at 4:15-
11   5:20. But, as NSTC stated in its request for leave, section 2(b) manifestly is not an indemnity
12   clause; it does not use the word “indemnity,” and NSTC does not contend that section 2(b) is an
13   indemnity2 or that section 2(b) requires the Moore Trust to reimburse NSTC for losses caused by
14   NSTC’s actions – the definition of an indemnity. “Indemnify” means “to reimburse (another) for
15   a loss suffered because of a third party’s . . . act or default.” BLACK’S LAW DICTIONARY (8th ed.
16   2004). Section 2(b) does not create an indemnity. Section 2(b) will not reimburse the ESOP for a
17   loss suffered because of NSTC’s actions; instead, section 2(b) creates an enforceable contractual
18   obligation between the Moore Trust and the ESOP for a loss caused by the actions of the Moore
19   Trust and the original trustee in 1998 and 1999. It is the Settling Parties who base their argument
20   on semantics by calling section 2(b) an indemnification.
21           Indeed, the Settling Parties admit as much. They concede that NSTC’s claim “under 2(b)
22   2
       The Settling Parties attempt to mischaracterize NSTC’s prior arguments on the cross-motions
23   for judgment as explicitly claiming that section 2(b) created rights to indemnity from the Moore
     Trust Defendants. Opp. at 4:17-21. A careful read of NSTC’s opening memorandum in support
24   of its motion for judgment reveals that NSTC referenced only section 7 of the Stock Purchase
     Agreements as a “broad indemnification provision” and cited section 2(b) as merely one of the
25   Moore Trust’s covenants under those same agreements. See Dkt. #274 at 7. In the reply brief in
     support of its motion for judgment, NSTC clearly referred to section 2(b) as a provision “to make
26   the Plan whole for any overpayment” in the Stock Purchase transactions. Dkt. # 307 at 16.

27   Section 7 is manifestly different from section 2(b). In section 7, the Moore Trust and the trustee
     agreed to cross-indemnify each other. Section 2(b) is not an indemnity provision and obligates
28   only the Moore Trust.
                                                            NSTC’S REPLY MEM. ISO ITS MOT. FOR LEAVE TO FILE MOT. FOR
                                                     4             RECONSIDERATION OR, ALT., FOR ENTRY OF JUDGMENT
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 1   would not have been one for indemnification, but instead would have been a claim asserted on
 2   behalf of participants to enforce the contract by its plain terms” had it been brought earlier. Opp.
 3   at 4:7-9. The Settling Parties provide no authority, or even explanation, for why the timing of the
 4   interpretation and enforcement of section 2(b) converts it into an indemnity clause.3 As noted
 5   above, section 2(b) cannot be enforced until a determination of an overpayment is made.
 6           C.     ERISA Does Not Prohibit Enforcement of Section 2(b)
 7           The Settling Parties argue, without citation to any authority, that the Court should not
 8   require the Moore Trust to satisfy its obligation to the ESOP should the Court determine the
 9   ESOP overpaid for its stock because NSTC should not benefit from the operation of section 2(b).
10   This argument fails for three reasons. First, as noted in the preceding paragraph, the Settling
11   Parties concede that section 2(b) was and is enforceable – they are simply playing a word-game
12   with the timing of section 2(b)’s enforceability. Second, the Settling Parties offer no legal
13   support for the proposition that a contract is unenforceable merely because it may benefit a third
14   party, such as NSTC. Third, even if there were a benefit to NSTC from the operation of section
15   2(b) (which NSTC disputes) by the Court enforcing the Moore Trust’s obligation to pay to the
16   ESOP any overpayment the Moore Trust received, it is an incidental benefit. The Settling Parties
17   do not dispute that ERISA permits a fiduciary to receive an incidental benefit from an action that
18   benefits an ERISA plan. See Hughes Aircraft Co. v. Jacobson, 525 U.S. 432, 445-46 (9th Cir.
19   1999) (fiduciary does not breach its duty if it is incidentally benefited by administration of
20   pension plan); Morse v. Stanley, 732 F.2d 1139 (2d Cir. 1984) (it is not a fiduciary violation to
21   take a course of action that promotes interests of plan participants simply because it incidentally
22   benefits a fiduciary). If the ESOP is made whole through the operation of section 2(b), then
23   Plaintiffs’ claim against NSTC, a claim that triggers section 2(b), is rendered moot as to the harm
24   that Plaintiffs allege was caused to the ESOP. The Court’s enforcement of a contractual
25   3
       To the extent that the Settling Parties argue that this Court’s final approval of the partial class
26   action settlement alters the enforceability of section 2(b), this argument directly conflicts with the
     Court’s unqualified holding, subsequent to the final order approving the class action settlement,
27   that Section 2(b) “requires the Moore Trust Defendants to return to the ESOP any amounts they
     are found to have wrongfully received as a result of the plan’s overpayment.” Order [Dkt. # 330]
28   at 15-16.
                                                            NSTC’S REPLY MEM. ISO ITS MOT. FOR LEAVE TO FILE MOT. FOR
                                                     5             RECONSIDERATION OR, ALT., FOR ENTRY OF JUDGMENT
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 1   provision for the benefit of the ESOP cannot be deemed an improper benefit to NSTC.
 2           D.      Enforcement of Section 2(b) Will, as a Practical Matter, End the Litigation
 3           Finally, the Settling Parties assert that enforcing section 2(b) will not end this litigation
 4   because Plaintiffs will “still have the right to a liability determination, equitable and injunctive
 5   relief, and an award of attorneys’ fees against [NSTC]” as well as the right to pursue legal fees
 6   that KMH has already advanced. Opp. at 6:2-10. This assertion is erroneous. As discussed
 7   above, the Plaintiffs’ right to a liability determination would be moot as to damages because
 8   Plaintiffs would recover the ESOP’s losses plus interest under section 2(b). Because NSTC is no
 9   longer trustee, any demand for equitable or injunctive relief is likewise moot. And any claim for
10   attorneys’ fees or reimbursement of fees already advanced is ancillary to the merits.
11   III.    IN THE ALTERNATIVE, THE COURT SHOULD ENTER JUDGMENT FOR
             THE SETTLING DEFENDANTS BECAUSE THE CLAIMS AGAINST THEM
12           HAVE BEEN FINALLY RESOLVED AND THERE IS NO JUST REASON FOR
             DELAY
13

14           In considering whether entry of judgment is appropriate under Rule 54(b), the Ninth
15   Circuit takes a “pragmatic approach focusing on severability and efficient judicial
16   administration.” Continental Airlines, Inc. v. Goodyear Tire & Rubber Co., 819 F.2d 1519, 1525
17   (9th Cir. 1987). “The Rule 54(b) claims do not have to be separate from and independent of the
18   remaining claims.” Texaco, Inc. v. Ponsoldt, 939 F.2d 794, 797 (9th Cir. 1991), quoting Sheehan
19   v. Atlanta Int’l Ins. Co. 812 F.2d 465, 468 (9th Cir. 1987); Alcan Aluminum Corp. v. Carlsberg
20   Fin. Corp., 689 F.2d 815, 817 (9th Cir. 1982). Entry of final judgment for a party under Rule
21   54(b) is proper if all of the claims against that party have been finally adjudicated, or if the nature
22   of the claims already determined is such that an appellate court would not have to decide the same
23   issue more than once even if there were subsequent appeals. Continental Airlines, Inc., 819 F.2d
24   at 1525; Alcan Aluminum Corp., 689 F.2d at 817; O2 Micro Int’l Ltd. v. Monolithic Power Sys.,
25   Inc., Case No. C 04-2000 CW, C 06-2929 CW, 2007 WL 2070275 (N.D. Cal. July 16, 2007). 4
26
     4
27    Indeed, the Ninth Circuit has stated that the case upon which Plaintiffs chiefly rely, Morrison-
     Knudsen Co. v. Archer, 655 F.2d 962 (9th Cir. 1981), contains an “outdated and overly restrictive
28   view of the appropriateness of Rule 54(b) certification.” Texaco, Inc., 939 F.2d at 798.
                                                             NSTC’S REPLY MEM. ISO ITS MOT. FOR LEAVE TO FILE MOT. FOR
                                                      6             RECONSIDERATION OR, ALT., FOR ENTRY OF JUDGMENT
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 1           The Settling Parties urge that the Court must consider a specific list of factors in deciding
 2   whether entry of judgment under Rule 54(b) is appropriate. Opp. at 9:3-13, citing General
 3   Acquisition, Inc. v. GenCorp, Inc., 23 F.3d 1022, 1030 (6th Cir. 1994). This argument misses the
 4   mark because it relies on a Sixth Circuit case that the Settling Parties incorrectly identify as a
 5   Ninth Circuit case. Opp. at 9:10. As noted above, the Ninth Circuit does not apply the Sixth
 6   Circuit’s test. Moreover, the Sixth Circuit describes its list of factors as “non-exhaustive.”
 7   General Acquisition, Inc., 23 F.3d at 1030.
 8           A.     The Legal Issues Remaining in the Case Are Distinct From Those Asserted
                    Against and Decided in Favor of the Settling Defendants, Such That The
 9                  Ninth Circuit Would Not Have To Consider The Same Issues More than Once
10           In its motion, NSTC pointed out that the Court has finally adjudicated and disposed of all
11   of the claims against the Settling Defendants. NSTC’s Brf. at 8. Plaintiffs acknowledge that their
12   claims against NSTC are distinct from those against the Settling Defendants, but assert that the
13   remaining and dismissed claims overlap factually. Opp. at 9:16-17. And as the Settling Parties
14   concede, there are no claims pending against the Settling Defendants. Entry of final judgment
15   under Rule 54(b) for a party no longer subject to any claims in a lawsuit is proper. Continental
16   Airlines, Inc., 819 F.2d at 1525; Alcan Aluminum Corp., 689 F.2d at 817.
17           The Settling Parties also have acknowledged that the legal issues remaining in the case are
18   distinct from those that have been adjudicated. Opp. at 9:16-17. The claims that have been
19   dismissed from the case focused on the liability of the Settling Defendants, including the Moore
20   Trust Defendants’ liability for breaching their fiduciary duties in the 1998 and 1999 transactions.
21   As the Court has previously held, the remaining claims focus exclusively on the liability of NSTC
22   as the successor fiduciary to Mr. Moore.5 Because the legal issues that have been decided are
23   5
       The Court has held that Plaintiffs’ claims against NSTC do not attempt to hold NSTC
24   vicariously liable for the acts of the Settling Defendants but rather focus on NSTC’s own alleged
     acts or omissions. See Order Denying North Star’s Motion for Summary Judgment, 12:7-13;
25   17:25-18:3 [Dkt. No. 237]. As the Court stated in its Order Denying NSTC’s Motion for
     Summary Judgment, “Plaintiffs are not directly challenging the 1998 and 1999 transactions
26   through their claims against North Star; they are challenging North Star’s failure to remedy
     breaches made by other fiduciaries in connection with the 1998 and 1999 transaction. This
27   failure, which is independently actionable under 29 U.S.C. § 1105(a)(3) [sic], took place long
     after the dates of the transactions themselves.” Order Denying North Star’s Motion for Summary
28   Judgment, 17:25-18:3 [Dkt. No. 237] (emphasis in original).
                                                            NSTC’S REPLY MEM. ISO ITS MOT. FOR LEAVE TO FILE MOT. FOR
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 1   distinct from those that remain to be decided, an appeal filed before the ultimate resolution of this
 2   case would necessarily address different legal issues than a later appeal. The Settling Parties have
 3   simply failed to identify any legal issues that will have to be considered more than once if the
 4   Court enters judgment for the Settling Defendants.
 5           The same is true of factual issues. In support of their argument, the Settling Parties note
 6   that they must prove that the Moore Trust Defendants were overpaid for their shares in the
 7   company in order to establish that NSTC breached its fiduciary duty. Opp. at 9:17-19. As this
 8   issue has not yet been decided, however, it would not be the subject of any appeal NSTC might
 9   bring after the Court enters final judgment for the Settling Defendants. The Ninth Circuit,
10   therefore, would not have to consider this factual issue more than once.6
11           B.     The Settling Parties Present No Just Reason for Delaying Entry of Judgment
                    in Favor of the Settling Defendants
12

13           The Settling Parties argue that the Court should delay entry of final judgment for the
14   Settling Defendants because a decision favoring NSTC would moot the need for an appeal. This
15   argument ignores that NSTC’s claim for indemnity from K-M Industries Holding Co. (“KMH”)
16   relates to attorneys’ fees that NSTC did (and continues to) incur. As the legal fees incurred do
17   not disappear even if the Court enters judgment in NSTC’s favor, nothing about the
18   indemnification dispute becomes moot in the event of a favorable resolution for NSTC.
19           Without citation to any authority, the Settling Parties also contend that because NSTC has
20   insurance coverage, it has little interest in enforcing the indemnification agreement with KMH.
21   Opp. at 10:13-20. This argument fails to recognize the wasting nature of the insurance policies at
22   issue, in which policy limits are reduced by legal fees expended. Every dollar spent on legal fees
23   reduces the amount available for disposition of the case. In addition, the Settling Parties’
24   argument ignores that insurance companies set rates based on claims history, causing NSTC
25   potentially to sustain future insurance premium increases commensurate with policy
26   6
       The Settling Parties have not cited a single case holding that it is improper to enter final
27   judgment for a dismissed party in a case where the remaining issues are legally distinct from the
     decided issue, but there may be some factual overlap between the remaining and decided claims.
28   NSTC is aware of no such case.
                                                           NSTC’S REPLY MEM. ISO ITS MOT. FOR LEAVE TO FILE MOT. FOR
                                                    8             RECONSIDERATION OR, ALT., FOR ENTRY OF JUDGMENT
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